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                                     LIST OF EQUITY SECURITY HOLDERS

Registered Name of Holder of Security             Class of Security      Number Registered      Kind of Interest
Last Known Address or Place of Business                                                         Registered

Acerco SA (Antoine De Sejournet)                  Common                 41667
"56 drève d'Argenteuil

Waterloo B-1410 Belgium

Adam Jennings                                     Common                 416667
5704 Llano Ct.
Midland, TX 79703

Adam Kasower                                      Common                 833334
25170 Bridger Rd.
Hidden Hills, CA 91302

Alan Murphy                                       Common                 500000
7433 Billo St.
San Angelo, TX 76901

Albert Metcalfe                                   Common                 834
550 West Texas Ave.
Suite 640
Midland, TX 79701

Ali                                               Common                 8333
Rezapour
18557 Silverhawk Lane
Tarzana, CA 91356

Amanda Chavez                                     Common                 1500
4801 Oakwood Dr. Apt. 1202
Odessa, TX 79761

Anthony Lavalle                                   Common                 41667
6 Glade Lane
Levittown, NY 11756

Anthony V. Lavalle Jr.                            Common                 52084
6 Glad Lane
Levvittown, NY 11756

Antoine de Sejournet                              Common                 20834
56 dreve d'Argenteuil
Belgium Belgium

Antoine de Sejournet de Rameignies                Common                 30000
Dreve D'Argenteuil 56
Waterloo BE 1410 Belgium
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                                       LIST OF EQUITY SECURITY HOLDERS
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Registered Name of Holder of Security                 Class of Security         Number Registered      Kind of Interest
Last Known Address or Place of Business                                                                Registered

Antonio Rodriguez                                     Common                    10000
5029 Hueco Tanks Rd.
El Paso, TX 79938

Arnulfo Bejarano                                      Common                    1500
1213 W. 19th
Odessa, TX 79763

Arturo Heredia                                        Common                    7500
2600 Santa Cruz Apt #80
El Paso, TX 79938

ASCAP                                                 Common                    371
21678 Network Place
Chicago, IL 60673

Attaboy Resources LP                                  Common                    16667
4245 N. Central Exprwy.
Suite 50
Dallas, TX 75205

Audrey Lee Maddox                                     Common                    213948
5512 Los Patios
Midland, TX 79707

Austin Elliott Seibert                                Common                    834
39221 Weyburn Dr.
Ft. Worth, TX 76109

Balentin Rincon                                       Common                    1500
5570 Goldenrod
Gardendale, TX 79758

Bank Julius Baer & Co., Ltd.                          Common                    12500
C/O Banque Julius Baer & CIE
SA7 rue Pierre Fatio
1253 Geneve Switzerland

Barbara Mahler                                        Common                    13333
3985 Wonderland Hill Ave.
#200
Boulder, CO 80304

Barry Wolfe, TTE, Barry Wolfe Family Tru              Common                    83334
22578 Flamigo St.
Woodland Hills, CA 91364
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                                      LIST OF EQUITY SECURITY HOLDERS
                                               Continuation Sheet No. 2
Registered Name of Holder of Security                Class of Security         Number Registered      Kind of Interest
Last Known Address or Place of Business                                                               Registered

Bart Parker                                          Common                    10000
2810 Bonham
Odessa, TX 79762

Becker & Poliakoff                                   Common                    6500
125 Half Mile Rd. Ste. 103
Red Bank, NJ 07701

Bernard Brogan                                       Common                    8334
5 Parklands Laurel Lodge
Castle Knock
Dublin 15 Ireland

Big Bad, LLC                                         Common                    250000
10960 Wilshire Blvd., 5U1 Floor
Los Angeles, CA 90024

Bill G. Carter                                       Common                    1593082
2507 Belaire Way
Granite Shoals, TX 78654

Bill Hightower                                       Common                    5000
2721 Racquet Club Drive
Midland, TX 79705

Black Pearl Energy, LLC                              Common                    456704
5307 E. Mockiingbird Lane 5th Floor
Dallas, TX 75201

Blake Biscoe                                         Common                    834
PO Box 92314
Austin, TX 78709

Bob Dillard                                          Common                    141667
2810 Pickwick
Austin, TX 78746

Branden Whitlock                                     Common                    7500
124 Joyce Circle
Mabank, TX 75156

Brian J. Baxstrom, Roth IRA                          Common                    23615
660 Beechwood Ave.
Wooster, OH 44691

Bruce Gordon                                         Common                    20834
0461 Conumdrum Creek Rd.
Aspen, CO 91611
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                                   LIST OF EQUITY SECURITY HOLDERS
                                            Continuation Sheet No. 3
Registered Name of Holder of Security             Class of Security         Number Registered      Kind of Interest
Last Known Address or Place of Business                                                            Registered

Bryan Whitlock                                    Common                    7500
124 Joyce Circle
Mabank, TX 75156

Bryant Yeager                                     Common                    1500
9 Amhurst Ct.
Midland, TX 79705

Calibre Consulting                                Common                    3334
2325 Dulles Corner Blvd. #500
Heerndon, VA 20171

Carl M. Rodia & Associates, Inc                   Common                    41667
13 Locust St.
Trumbill, CT 06611

Carol Briggs                                      Common                    22468
1545 Eden Dr.
Wooster, OH 44691

Catherine Weiland                                 Common                    834
4606 Gulf Ave.
Midland, TX 79707

Cedric Webb                                       Common                    1500
538 Westover Rd. Apt. 106
Big Springs, TX 79720

Chad Goldberg                                     Common                    1667
401 W. A St., Ste., 325
San Dieago, CA 92101

Chance Murphy                                     Common                    150000
218 Sugarloaf Ave.
Abilene, TX 79602

Charles Nethersole                                Common                    479168
4376 N. Micigan Ave.
Miami Beach,FL 33140D

Charlie O'Shaughnessy                             Common                    1667
10 Lilladoon Park Calbridge
Kildare Ireland

Christi L Craddick                                Common                    4167
2508 B. Quarry Road
Austin, TX 78703
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                                        LIST OF EQUITY SECURITY HOLDERS
                                                 Continuation Sheet No. 4
Registered Name of Holder of Security                  Class of Security         Number Registered      Kind of Interest
Last Known Address or Place of Business                                                                 Registered

Christopher B Corley Trustee Triple C                  Common                    10000
Trust
702 Rivera Ct.
Midland, TX 79705

Christopher B. Corley                                  Common                    834
PO Box 2042
Midland, TX 79702

Christopher Espinoza                                   Common                    16667
6009 E. County Rd. 84
Midland, TX 79706

Christopher Espinoza                                   Common                    10000
6009 ECR 84
Midland, TX 79706

Chuck Rosebrough                                       Common                    3334
PO Box 804
Graham, TX 76450

Claire Allison Brunner                                 Common                    1667
2201
Country Club Dr.
Midland, TX 79701

Clay Stone                                             Common                    834
3321 Neely Avenue Q-2
Midland, TX 79707

Clayton Dorn Chisum                                    Common                    16667
PO Box 100
High Rolls, NM 88325

Clepsydra, LLC                                         Common                    333333
10990 SW 59th Terrace
Miami, FL 33173

Clinton John Woodson                                   Common                    834
5107 Del Monte Dr.
Apt. 13
Houston, TX 77056

Clytie Lane                                            Common                    20834
29555 Rainsford Pl
Malibu, CA 90265

Corporate Communications Network, Inc                  Common                    15002
8950 E. Raintree Dr.
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                                           LIST OF EQUITY SECURITY HOLDERS
                                                    Continuation Sheet No. 5
Registered Name of Holder of Security                     Class of Security         Number Registered      Kind of Interest
Last Known Address or Place of Business                                                                    Registered

Suite 100
Scottsdale, AZ 85260

Craig Allmendinger                                        Common                    16667
57 Dyer Ave.
Canton, CT 06019

D. Grant Seabolt                                          Common                    158218
5307 E. Mockingbird Lane
5th Floor, Mockingbird Station
Dallas, TX 75206

D. Grant Seabolt, Jr.                                     Common                    741027
5307 E. Mockingbird Lane
5th Fl. Mockingbird Station
Dallas, TX 75206

Dale Dorn                                                 Common                    4167
4040 Broadway #603
San Antonio, TX 78209

Dale F. Dorn                                              Common                    650204
4040 Broadway #603
San Antonio, TX 78209

Dalton Cobb                                               Common                    5000
5704 El Campo Ave.
Ft. Worth, TX 76107

Dan Gatewood                                              Common                    8334
5707 Highland Blvd.
Midland, TX 79707

Daniel Balk                                               Common                    20800
PO Box 919
Bridgehampton, NY 11932

Daniel Bienenfeld                                         Common                    16667
1511 Bainum Dr.
Topanga, CA 90290

Daniel Bienenfeld & Anne Stifter Bienenf                  Common                    20834
JTROS
PO Box 619
Pacific Palasades, CA 90272

Danny J. & Marie M. Winn, JTROS                           Common                    6667
15002 Dove Creek Rd.
San Diego, CA 92127
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                                   LIST OF EQUITY SECURITY HOLDERS
                                            Continuation Sheet No. 6
Registered Name of Holder of Security             Class of Security         Number Registered      Kind of Interest
Last Known Address or Place of Business                                                            Registered


Danny S. Davis                                    Common                    834
5005 Riverway #440
Houston, TX 77056

Darrel Byrer                                      Common                    150000
150 Alum Creek Rd.
Smithville, TX 78959

David Balk                                        Common                    20800
PO Box 919
Bridgehampton, NY 11932

David Brewster                                    Common                    24777
4890 Riverbend Rd.
Boulder, CO 80301

David Brewster & Associates, Inc                  Common                    75770
4890 Riverbend Rd.
Boulder, CO 80301

David Clark Gaines                                Common                    1667
11406 Eveningstar Dr.
Austin, TX 78739

David Fietz                                       Common                    3334
2000 Neely
Midland, TX 79705

David J. Whitley                                  Common                    66668
1598 NE 104th St.
Miami Shores, FL 33138

David Pachter                                     Common                    1667
31 Mercer Place
Apt. 2A
New York, NY 10013

David W. Watson                                   Common                    10000
206 A Mitchell
Midland, TX 79701

Debbie J. Robertson                               Common                    834
506 Brownwood
Midland, TX 79703

Derek Putlak                                      Common                    6667
921 East 49th St.
Austin, TX 78751
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                                   LIST OF EQUITY SECURITY HOLDERS
                                            Continuation Sheet No. 7
Registered Name of Holder of Security             Class of Security         Number Registered      Kind of Interest
Last Known Address or Place of Business                                                            Registered


Don Davidson                                      Common                    3334
30 Oakwell Farms Pkwy.
San Antonio, TX 78218

Don Millen                                        Common                    833
1310 S. Tyron St., Ste 109
Charlotte, NC 28203

Doug Adams                                        Common                    33334
9608 W. CR 160
Midland, TX 79707

Douglas W. Ferguson                               Common                    834
PO Box 432
Midland, TX 79702

Edurado Baca                                      Common                    1500
15229 S. Cusdid
Odessa, TX 79766

ELRO Corporation                                  Common                    3849
244 Madison Ave.
Suite 357
New York, NY 10170

Emery Partners, LLC                               Common                    58334
196 Old Pointe Ave.
Madison, ME 04950

Emilio Morales                                    Common                    1500
524 Lindberg
Odessa, TX 79761

Enteles                                           Common                    16667
3985 Wonderland Hill Ave.
Ste. 200
Boulder, CO 80304

Eric Kaposta                                      Common                    3334
2311 Crooked Lane
Southlake, TX 76092

Ernest Pellegino                                  Common                    65779
328 Newman Springs Rd.
Red Bank, NJ 07701
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                                          LIST OF EQUITY SECURITY HOLDERS
                                                   Continuation Sheet No. 8
Registered Name of Holder of Security                    Class of Security         Number Registered      Kind of Interest
Last Known Address or Place of Business                                                                   Registered

Even Berger                                              Common                    3334
18851 NE 29th Ave., Fl 7
Aventura, FL 33180

Fair Oaks Holding, LLC                                   Common                    63848
544 E. Liberty St.
Wooster, OH 44691

FAST-CEDE & CO                                           Common                    16415292
55 Water Street
New York, NY 10006

Faustino Lopez                                           Common                    1500
912 E. 25th
Odessa, TX 79761

Felipe Silva                                             Common                    1500
1004 S. Marshall
Midland, TX 79701

FireRock Global Opportunities Fund LP                    Common                    137740
1040 1st Ave., Ste. 190
New York, NY 10022

FirstFire Global Opportunities Fund LLC                  Common                    125000
FireRock Capital Inc
1040 1st Ave., Ste. 190
New York, NY 10022

Flammino Family Trust UDT 2/28/89                        Common                    52084
1601 E. Olympic Blvd. #405
Los Angeles, CA 90021

Francisco Rojas                                          Common                    7500
1000 Pueblo St. Apt. 64
Odessa, TX 79761

Fredrick Giovanelli                                      Common                    16667
156 Sussex Dr.
Manhasset, NY 11030

Garden State Securities, Inc                             Common                    41184
328 Newman Springs Rd.
Red Bank, NJ 07701

Gene A. Dodge                                            Common                    834
6142 Sugar Hill
Houston, TX 77071
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                                   LIST OF EQUITY SECURITY HOLDERS
                                            Continuation Sheet No. 9
Registered Name of Holder of Security             Class of Security         Number Registered   Kind of Interest
Last Known Address or Place of Business                                                         Registered

Gene Brock                                        Common                    351542
619 W. Texas Ave.
Suite 126
Midland, TX 79701

George B. Kaufman                                 Common                    1250
80 N. Moore #21E
New York, NY 10013

Gerald Walsh                                      Common                    4167
11 Grove Lawn
Malahide, CA 90265
Ireland

Geraldine Fiske                                   Common                    27146
29500 Heathercliff Rd.
#269#21E
Malibu, CA 90265

Geraldyn Fox                                      Common                    1500
1910 N. Stockton Ave.
Odessa, TX 79763

Gerardo Sierra                                    Common                    1500
7611 W. 10th St.
Odessa, TX 79763

Gilbert Raker                                     Common                    4167
62 Moreland Rd.
Greewich, CT 06831

Gilberto Sierra                                   Common                    1500
7611 W. 10th St.
Odessa, TX 79763

Gordon & Karin Sass                               Common                    11617
N3314 Monroe-Sylvester Rd.
Monroe ,WI 53566

Gordon L. Sass Roth IRA                           Common                    47164
N3314 Monroe-Sylvester Rd
Monroe, WI 53566

Grant Seabolt                                     Common                    31250
2828 Routh St.
Suite 700
Dallas, TX 75201
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                                   LIST OF EQUITY SECURITY HOLDERS
                                           Continuation Sheet No. 10
Registered Name of Holder of Security            Class of Security         Number Registered   Kind of Interest
Last Known Address or Place of Business                                                        Registered

Green Life, Inc                                  Common                    100000
3011 Yamato Rd., Ste A-17
Boca Raton, FL 33431

Greenburg Capital, LLC                           Common                    8334
1000 Woodbury Rd., Ste. 207
Woodbury, NY 11797

Guenter Metsch                                   Common                    8334
320 Seaview Ct. #1605
Marco Island, FL 34145

Gusrae Kaplan Nusbaum PLLC                       Common                    4167
120 Wall Street
New York, NY 10005

GVP.DSJ Inc                                      Common                    762
2828 Routh St.
Suite 700
Dallas, TX 75201

H. Reid Wagstaff Roth IRA                        Common                    12846
4400 N. Scottsdale Rd. #9-912
Scotsdale, AZ 85251

H. Robert Rowley Jr.                             Common                    12500
JTWROS/Andrea L. Rowley
2101 Chepstow Rd.
Suite 23M
Schenectady, NY 12303

Hall Brockett                                    Common                    1667
PO BOx 1841
Midland, TX 79702

Hartley Moore Accountancy Corp.                  Common                    16667
4685 MacArtur Ct., Ste. 370
Newport Beach, CA 79701

Harvey Lopez                                     Common                    1500
9103 W. Riggs
Odessa, TX 79764

Hayden Consulting                                Common                    6667
3120 W. Carefree Hwy. #1-233
Phoenix, AZ 85086
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Registered Name of Holder of Security                Class of Security         Number Registered   Kind of Interest
Last Known Address or Place of Business                                                            Registered

Heather Obeda Roth IRA                               Common                    4268
2576 Hartun Dr.
Brighton, MI 48114

HEC Investments, LLC                                 Common                    54167
250 Steele St., Suite 375
Denver, CO 80206

Hilario Garcia                                       Common                    1500
PO Box 1068
Monahans, TX 79756

Horizon Capital Fund LP                              Common                    15002
201 4th Ave. North
Ste. 1950
Nashville, TN 37219

Howard Gan                                           Common                    70417
4884 Brewster Dr.
Tarzana, CA 91357

Howard J. Gan and Robyn Miller JTROS                 Common                    156251
4884 Brewster Dr.
Tarzana, CA 91356

Hunter Hill                                          Common                    47917
2430 Victory Park $1902
Dallas, TX 75219

Ira J. Gaines                                        Common                    542818
1819 E. Morten Ave. Ste. 180
Phoenix, AZ 85020

Irwin Zalcberg                                       Common                    8334
52118 Lake Park Dr.
Grand Beach, MI 49117

J. Mark Kennedy                                      Common                    16667
1144 Salt Creek Drive
Ponte Vedra, FL 32082

Jacob Wonsover                                       Common                    1667
4711 Dempster
Skokie, IL 60076

Jacqueline Orr                                       Common                    1667
4 Sprucefield Ct.
Hope, PA 18938
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                                      LIST OF EQUITY SECURITY HOLDERS
                                               Continuation Sheet No. 12
Registered Name of Holder of Security                Class of Security         Number Registered   Kind of Interest
Last Known Address or Place of Business                                                            Registered

James C. Slate and Jessica Logreira JTRO             Common                    20834
707 Sierra Vista Dr.
Truth or Consequences, NM 87901

James Cerna                                          Common                    4792
105 Tanager Lane
Redwood Shores, CA 94065

James J. Cerna Jr. TTEE                              Common                    25000
105 Tanager Lane
Redwood Shores, CA 94065

James J. Kellu & Whitney A. Greaves                  Common                    1667
JTROS
221 4th Pl
Manhattan Beach, CA 90266

James Kelly                                          Common                    9938
1025 NW Couch #1514
Portland, OR 97209

James Lee                                            Common                    1500
10002 ECR 95
Midland, TX 79706

James N. Letsos III                                  Common                    3334
PO Box 3692
Houston, TX 77236

James Nicholls                                       Common                    20834
333 W 56th St. #9C
New York, NY 10001

James Pappalardo                                     Common                    11000
328 Newman Springs Rd.
Red Bank, NJ 07701

James S. & Susan Baker JTROS                         Common                    8334
5351 Owl Alley Lane
Keswick, VA 22947

James Tracy                                          Common                    1667
7026 Old Katy Rd.
Suite 303
Houston, TX 77024

James Williams                                       Common                    1500
14925 Manzanita St.
Gardendale, TX 79758
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                                   LIST OF EQUITY SECURITY HOLDERS
                                           Continuation Sheet No. 13
Registered Name of Holder of Security            Class of Security         Number Registered   Kind of Interest
Last Known Address or Place of Business                                                        Registered


Janet W. Guerrant                                Common                    1667
8731 Cresent Gate Lane
Houston, TX 77024

Janice T. Baxstrom Roth IRA                      Common                    2548
660 Beechwood Ave.
Wooster, OH 44691

Jason Bradley Long                               Common                    1667
12726 Barryknoll Lane
Houston, TX 77024

JDF Capital, Inc                                 Common                    1390000
96 Village Center Dr.
Freehold, NJ 07728

Jeff Hook                                        Common                    11042
3630 B Walnut St.
Lafayette, CA 94549

Jeff Massey                                      Common                    16667
PO Box 225
Sulfur Springs, TX 75483

Jeff Nicholds                                    Common                    5000
4408 Overton Terrace
Ft. Worth, TX 76109

Jeff O'Brien                                     Common                    1667
2313 Neely Ave.
Midland, TX 79705

Jeffrey S. Hook                                  Common                    82686
3630 B Walnut St
Lafayette, CA 94549

Jeffrey Schnapper                                Common                    4167
2 Fieldcrest Dr.
New City, NY10956

Jennifer Sue Fulkerson                           Common                    1667
5134 West Belfort
Houston, TX 77035

Jeremy Jones                                     Common                    5000
511 Graham Ave.
Odessa, TX 79763
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Registered Name of Holder of Security            Class of Security         Number Registered   Kind of Interest
Last Known Address or Place of Business                                                        Registered

Jesse Bienenfeld                                 Common                    5000
1601 Venice Blvd., Apt 106
Los Angeles, CA 90291

Jesus Ramirez                                    Common                    1500
1501 Murphy Apt. 9
El Paso, TX 79902

Jesus Soltero                                    Common                    1500
PO Box 11135
Midland, TX 79702

Jim Kelly                                        Common                    5000
1025 MW Couch
#1514
Portland, OR 97209

Joel Bienenfeld                                  Common                    20385
2417 Castle Heights Dr.
Los Angeles, CA 90034

John C. Dorn                                     Common                    31906
PO Box 2396
Midland, TX 79702

John F. Baier                                    Common                    233071
29350 Pacific Coast Hwy. #2A
Malibu, CA 90265

John F. Dorn                                     Common                    4167
2900 Weslayan St #430
Houston, TX 78211

John Fanning                                     Common                    33334
PO Box 675384
Rancho Sante Fe, CA 92067

John Giacoia                                     Common                    75000
24 Dean Dr.
Pembroke, MA 02359

John Gillett                                     Common                    10597
321 E. Lake Shore Dr.
Tower Lakes, IL 60010

John Krawczyk                                    Common                    104167
515 Latigo canyon Rd.
Mailbu, CA 90265
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Registered Name of Holder of Security               Class of Security         Number Registered   Kind of Interest
Last Known Address or Place of Business                                                           Registered

John M & Lynnette S Dillentees U/A DTD              Common                    308865
9/26/2008 of the Dillen Family Trust
PO Box 675384
Rancho Santa Fe, CA 92067

John Marsala                                        Common                    3334
215 E. 68th St.
New York, NY 10021

John McDermott                                      Common                    120834
401 W. A St., Ste. 325
San Diego, CA 92101

John O'Shea                                         Common                    8334
100 Wall Street
New York, NY 10005

John Rueter                                         Common                    1667
2794 Rita Ct.
Bellmore, NY 11710

John Scherer                                        Common                    834
PO Box 11404
Midland, TX 79702

Jordan D. Birnbaum,                                 Common                    30834
54 Forge Rd.
Sharon, MA 02067

Jose Angel Mora-Martinez                            Common                    1500
12055 W. Claire St.
Odessa, TX 79764

Jose Lopez                                          Common                    1500
912 E. 25th
Odessa, TX 79761

Jose Salazar                                        Common                    1500
419 E. Oak
Midland, TX 79705

Joseph I. O'Neill, III                              Common                    1435915
410 West Ohio
Midland, TX 79701

Joseph Sponzo                                       Common                    21000
47 West 68 St. #5F
New York, NY 10023
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                                   LIST OF EQUITY SECURITY HOLDERS
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Registered Name of Holder of Security            Class of Security         Number Registered   Kind of Interest
Last Known Address or Place of Business                                                        Registered

Joshua Brooks                                    Common                    250000
125 Price Rd.
Winsted, CT 06098

Joshua Brown                                     Common                    75000
3610 Monclave Dr.
MIdland, TX 79703

JSM Music, Inc.                                  Common                    159
59 West 19th St.
New York, NY 10011

Juan Natividad                                   Common                    1500
1201 W. Wwashington Ave.
Midland, TX 79701

Juventino Muniz                                  Common                    1500
221 N. Spruce
Kermit, TX 79745

Katherine Sneed Brunner                          Common                    1667
2201 Country Club Dr.
Midland, TX 79701

Keenan Stringer                                  Common                    10000
901 Nolan Ryan Dr.
Midland, TX 79706

Keith Campbell                                   Common                    12500
821 Crater Camp Dr.
Calabasa, CA 91302

Ken Williams                                     Common                    16667
1852 Post Oak Park Dr.
Houston, TX 77027

Kendall Williams                                 Common                    183334
4216 Greenbriar Rd.
Midland, TX 79707

Kenneth Ray                                      Common                    5000
10100 South Gessner #702
Houston, TX 77071

Kenneth Vallone                                  Common                    3334
3121 Buffalo Speedway #8204
Houston, TX 77098
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                                   LIST OF EQUITY SECURITY HOLDERS
                                           Continuation Sheet No. 17
Registered Name of Holder of Security            Class of Security         Number Registered   Kind of Interest
Last Known Address or Place of Business                                                        Registered

Kevin Marshall Rockecharlie                      Common                    834
5114 Feagan St.
Houston, TX 77007

KGS, LLP                                         Common                    415
125 Jericho Turnpike
Suite 300
Jericho, NY 11753

KI Learning Systems, Inc                         Common                    16667
432 Knollwood Dr.
Newbury Park, CA 91320

Kimber Carter                                    Common                    10000
4309 Harvard
Midland, TX 79703

Kimberly Conrad                                  Common                    2500
135 Creekland Dr.
East berlin, PA 17316

Kirk Branum                                      Common                    3334
1600 W. Tennessee Ave.
Midland, TX 79701

Larry Crosson                                    Common                    12500
3895 E. Cottonwood Rd.
Gardendale, TX 79758

Larry Eubank                                     Common                    1667
6013 C Burgoyne
Houston, TX 77057

Larry G. Phillips                                Common                    834
PO Box 2197
Midland, TX 79702

Lazaro Tejada                                    Common                    1500
931 Honeysuckle
Odessa, TX 79761

Leigh Williams                                   Common                    3334
5422 Lincrest Lane
Houston, TX 77056

Lena Tellez                                      Common                    2000
2600 W Loop 250 N Apt. 509
Midland, TX 79705
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                                    LIST OF EQUITY SECURITY HOLDERS
                                             Continuation Sheet No. 18
Registered Name of Holder of Security              Class of Security         Number Registered   Kind of Interest
Last Known Address or Place of Business                                                          Registered

Les Schultz                                        Common                    7500
1520 First St. K-311
Coronado, CA 92218

Levine Family Rev Trust 11/30/93                   Common                    70740
3954 Los Arabis Drive
Lafayette, CA 94549

Lezlie Frazer                                      Common                    834
3605 Wedgewood St.
Midland, TX 79707

LG Capital Funding, LLC                            Common                    225000
1218 Union Street
Suite 2
Brooklyn, NY 11225

Lifephase Inc Retirement Plan One                  Common                    33334
578 Washington Blvd #455
Marina Del Rey, CA 90262

Lindsey L. Ramirez                                 Common                    2000
2001 Huntington
Midland, TX 79705

LogicomUSA                                         Common                    193
56 Pine St.
Suite 11F
New York, NY 10005

Lorenzo Reyes                                      Common                    1500
503 W. 2nd St.
Stanton, TX 79782

Louis M. Steren                                    Common                    8334
21320 Ave. San Luis
Woodland Hills, CA 91364

Louis N Zerbo                                      Common                    93752
271 Route 46 W
Ste. D209
Fairfield, NJ 07004

Ludlow Capital, Inc                                Common                    50000
256 Seaman Ave., Suite 5A
New York, NY 10034
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                                        LIST OF EQUITY SECURITY HOLDERS
                                                Continuation Sheet No. 19
Registered Name of Holder of Security                 Class of Security         Number Registered      Kind of Interest
Last Known Address or Place of Business                                                                Registered

Luis Lujan                                            Common                    1500
448 E. Ivory
Odessa, TX 79766

Lyman O. Heidtke IRAFCC As custodian                  Common                    4167
2801 Market
St. Louis, MO 63103

Macallan Partners LLC                                 Common                    320000
245 main St., Ste. 390
White Plains, NY 10601

Madison Stock Transfer, Inc.                          Common                    47
PO Box 14590
Suite 601
Brooklyn, NY 11229

Maid of New York                                      Common                    815
118 East 28th
New York, NY 10016

Manfred Birnbaum & Charlotte Birnbaum                 Common                    73750
JTWROS
32 Lynam Rd.
Stamford, CT 06903

Manfred E. Birnbaum                                   Common                    828830
32 Lynam Rd.
Stamford, CT 06903

Marcia Levine                                         Common                    6563
27 Sands Court
Port Washington, NY 11050

Marcus Muller                                         Common                    4167
93 North Maini At.
Cranbury, NJ 08512

Mariel Kamp or Maria Eleena Pena                      Common                    8333
28 Garner Drive
Novato, CA 94947

Marion Briggs                                         Common                    1500
538 Westover Rd., Apt #223
Big Springs, TX 79720

Mark McLean Bowman                                    Common                    66667
615 Belknap
San Antonio, TX 78212
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                                    LIST OF EQUITY SECURITY HOLDERS
                                             Continuation Sheet No. 20
Registered Name of Holder of Security              Class of Security         Number Registered   Kind of Interest
Last Known Address or Place of Business                                                          Registered


Marlene Brill                                      Common                    15002
56 Pine Street
Suite 11F
New York, NY 10005

Marrs McLean Bowman                                Common                    105802
615 Belknap
San Antonio, TX 78212

Marshall Douglas Murphy                            Common                    1667
2000 Smith St.
Houstron, TX 77002

Martin Belcourt                                    Common                    41667
8325 S. Ave. C
Kermit, TX 79745

MArtin Belcourt                                    Common                    1500
832 S. Ave. C
Kermit, TX 79745

Marty Walter                                       Common                    209105
619 W. Texas Ave.
Suite 126
Midland, TX 79701

Mary Elizabeth Nichols                             Common                    834
4408 Overton Terrace
Ft. Worth, TX 76109

Matthew Balk                                       Common                    20800
PO Box 919
Bridgehampton, NY 11932

Mauro Medina                                       Common                    1500
4518 Comanche Dr.
Midland, TX 79703

McDerMedia Inc                                     Common                    200000
3952 D. Clairemont Mesa Blvd #198
San Diego, CA 92117

Mclean Bowman                                      Common                    8334
615 Belnapp
San Antoni, TX 78212
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                                      LIST OF EQUITY SECURITY HOLDERS
                                               Continuation Sheet No. 21
Registered Name of Holder of Security                Class of Security         Number Registered   Kind of Interest
Last Known Address or Place of Business                                                            Registered

Mechanical Colling, Inc.                             Common                    443
531 W. 49th St.
New York, NY 10019

Melanie Saiz                                         Common                    20000
1606 McClintic
Midland, TX 79701

Merle J. Huerta                                      Common                    30834
23 Landau Ln
Spring Valley, NY 10977

Michael & Stacia Balog Trust                         Common                    49843
Rod PahatiBTIG
600 Montgomery St.
San Francisco, CA 94111

Michael & Stacy Balog Trust UAD12/8/2005             Common                    29167
Rod Pahati BTIG
600 Montgomery St.
San Francisco, CA 94111

Michael Friedman                                     Common                    4584
4 Buckingham Dr.
Morage, CA 94556

Michael G. Balog and Stacy L. Balog                  Common                    4792
TTEES Rod PAHATIBTG
600 Montgomery St.
San Franciso, CA 94111

Michael G. Reddin                                    Common                    5000
11831 Ellice St.
Malibu, CA 90265

Michael J. MCAdams                                   Common                    4270
3849 North Upland St.
Arlington, VA 22207

Michael S. Cianciola                                 Common                    834
4223 Marina St.
Houston, TX 77007

Miguel Jimenez-Chavez                                Common                    1500
509 S. Mineola
Midland, TX 79701
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                                    LIST OF EQUITY SECURITY HOLDERS
                                             Continuation Sheet No. 22
Registered Name of Holder of Security              Class of Security         Number Registered   Kind of Interest
Last Known Address or Place of Business                                                          Registered

Milton Bienenfeld                                  Common                    700000
2471 Castle Heights Ave.
Los Angeles, CA 90034

Miranda CFO Services, Inc                          Common                    200000
1595 S. Misson Rd.
Fallbrook, CA 92028

MIRUS OPPORTUNISTIC FUND                           Common                    8334
619 West Texas Ave.
Midland, TX 79701

MKM Opportunity Master Fund, ltd.                  Common                    1061928
Attn: David Skriloff
1410 Broadway, 23rd Fl.
New York, NY 100118

Neil Heiman                                        Common                    5000
4330 Mill Creek Court
Fort Collins, CO 80526

New Millenium Pr.com., Inc                         Common                    25000
6958 South Utica Ave.
Tulsa, OK 74136

Newton Energy                                      Common                    9596
520 El Camino Real #423
San Mateo, CA 99402

NFS/FMTC IRA fbo Thomas W. Coker                   Common                    15625
4904 SW Quail Hollow St.
Palm City, FL 34990

Nicholas Rockecharlie                              Common                    3334
5114 Feagan St.
Houston, TX 77007

Norman Meyers                                      Common                    2500
215 Norris Rd.
Biglerville, PA 17307

Oceanic Consulting LLC                             Common                    6667
Blossom Covw
Suite 24A
Redbank, NJ 10036

Oliver Beach                                       Common                    4167
105 First St.
San Antonio, TX 78210
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                                      LIST OF EQUITY SECURITY HOLDERS
                                              Continuation Sheet No. 23
Registered Name of Holder of Security               Class of Security         Number Registered   Kind of Interest
Last Known Address or Place of Business                                                           Registered


Omar Saenz                                          Common                    1500
3711 Cedar Spring
Midland, TX 79703

Oscar Jurado Torres                                 Common                    1500
610 Apollo Rd.
Richardson, TX 75081

Oswaldo Saenz Jr                                    Common                    1500
20 Bookins Ct.
Odessa, TX 79764

Pathfinder Worldwide Finacial Group, LLC            Common                    100000
5307 E. Mockingbird Lane
5th Floor
Dallas, TX 75206

Patrick Riordan                                     Common                    104167
5566 Little Fawn Crt
Westlake Village, CA 91362

Patrick Ryan Rockecharlie                           Common                    834
5114 Feagan St.
Houston, TX 77007

Paul DiFrancesco                                    Common                    3447520
17181 Camino Acampo Rancho
Rancho Santa Fe, CA 92067

Paul Dunning                                        Common                    1667
4158 Greystone Way
Sugarland, TX 77479

Paul Kyne                                           Common                    3334
66 Lucan Heights
Lucan County, CA 92037 Dublin

Pedro Guerrero                                      Common                    1500
1501 Mundy Apt #9
El Paso, TX 79902

PEMSCO Trust Co., FBO John Krawczyk                 Common                    58334
515 Latigo Cyn Rd.
Malibu, CA 90265

Perfecto Trevizo                                    Common                    1500
390 Betty Lou Dr.
Odessa, TX 79766
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                                   LIST OF EQUITY SECURITY HOLDERS
                                            Continuation Sheet No. 24
Registered Name of Holder of Security             Class of Security         Number Registered   Kind of Interest
Last Known Address or Place of Business                                                         Registered


Perry Fikes                                       Common                    1500
4107 Irvin
Midland, TX 79705

Pocket Rocket                                     Common                    8333
Brook Barn Trelleck Road
TintermChepstow NP 166SN England

Powhatan French                                   Common                    8333
1010 West Wall Street
Midland, TX 79701

R.H. Tibaut Bowman                                Common                    240006
1250 NE Loop 410
Ste. 900
San Antonio, TX 78209

Raghu Saripalli                                   Common                    116667
401 W. A St., Ste. 325
San Diego, Ca 92101

Raman Mullick                                     Common                    3334
2906 Meadowgrass Lane
Houston, TX 77082

Randy J. Boatwright                               Common                    8334
PO Box 17962
San Antonio, TX 78217

Raymond Foy                                       Common                    2084
The FirstBallycahan
Kildare, TX 77082 Ireland

Redwood Fund. LP                                  Common                    250000
50233 North Parkway
Calabasas, CA 91302

Reid & Susan Wagstaff                             Common                    29547
4400 N. Scottsdale Rd. #9-912
Scottsdale, AZ 85251

Rene Usher                                        Common                    3333
2545 Shenandoah Ave.
Charlotte, NC 28205

Richard L. Stern                                  Common                    33334
124 W. 79th St., Ste. 2-C
New York, NY 10024
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                                      LIST OF EQUITY SECURITY HOLDERS
                                               Continuation Sheet No. 25
Registered Name of Holder of Security                Class of Security         Number Registered   Kind of Interest
Last Known Address or Place of Business                                                            Registered


Robert Beaudreault                                   Common                    834
4111A Purdue
Hosuton, TX 77005 Ireland

Robert Cerf                                          Common                    33334
3605 Wedgewood
Midland, TX 79702

Robert D. Brunner                                    Common                    5000
2201 Country Club Dr.
Midland, TX 79701

Robert Henderson Nichols                             Common                    834
4408 Overton Terrace
Ft. Worth, TX 76109

Robert J & Sandra Nebrosky Living Trust              Common                    200000
317 14th St.
Del Mar, CA 92014

Robert J.. Cerf                                      Common                    58334
3605 Wedgewood
Midland, TX 79702

Robert S. Brunner                                    Common                    1667
2201 Countyr Club Dr.
Midland, TX 79701

Robert W. Palmer                                     Common                    834
PO BOX 11341
Midland, TX 79702

Robert Wallace Dillard III                           Common                    166667
2810 Pickwick
Austin, TX 78759

Robert Weaver Roth IRA                               Common                    33758
326 E. Paradise St.
Orville, OH 44667

Rodolfo Guevara                                      Common                    7500
1101 Fitch Ave. #1002
Odessa, TX 79761

Roger Levine                                         Common                    75001
3954 Los Arabis Dr.
Lafayette, CA 94549
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                                    LIST OF EQUITY SECURITY HOLDERS
                                             Continuation Sheet No. 26
Registered Name of Holder of Security              Class of Security         Number Registered   Kind of Interest
Last Known Address or Place of Business                                                          Registered

Ronald Pasternak                                   Common                    4167
325 Howard Ave.
Fairlawn, NJ 07410

Ronald Vaughn                                      Common                    2084
32 Ashton Way
West Chester, PA 19386

Ross W. Brunner                                    Common                    1667
2201 Country Club Dr.
Midland, TX 79701

RSF Advisors                                       Common                    91667
4365 Executive Dr.
Ste.1500
San Diego, CA 92121

Ruben Aguirre                                      Common                    1500
1306 Moran
MIdland, TX 79701

Ruben Berzoza                                      Common                    100000
626 Magnolia
Kermit, TX 79745

Russell Clayton Lutrell                            Common                    1667
4811 Rustic Trail
Midland, TX 79707

Ruth Bowman Russell                                Common                    247709
615 Belknap
San Antonio, TX 78212

Ryan Riley                                         Common                    4167
18517 Perdidi Bay
Leesburg, VA 20176

S. Andrew Corwin                                   Common                    3334
3900 South Hualapai Way, Ste. 126
Las Vegas, NV 89147

Salttech, BV                                       Common                    66667
Smidsstraat 2, 8601 WB
SneekSneek The Netherlands

Sam Weiss                                          Common                    166667
Attn: Gitty Mayer
211 Hewes St.
Brooklyn, NY 11211
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                                   LIST OF EQUITY SECURITY HOLDERS
                                           Continuation Sheet No. 27
Registered Name of Holder of Security            Class of Security         Number Registered   Kind of Interest
Last Known Address or Place of Business                                                        Registered


Samantha Bo Weiner                               Common                    83334
1506 West Storey
Midland, TX 79701

Sandra Ramirez                                   Common                    2500
600 West New Jersey
Midland, TX 79701

Sandra Sande                                     Common                    16667
830 Crater oak
Monte Nido, CA 91302

Sanjeev Paudel                                   Common                    52500
3100 Caldera Blvd., Apt. 924
Midland, TX 79705

Saul Bejarano                                    Common                    1500
1901 W. Washington Ave.
Midland, TX 79701

Scott Miller                                     Common                    28000
3600 N. Midland Dr.
Midland, TX 79707

Semper Gestion SA                                Common                    41667
5 rue Pedro-Nelvan
Geneva 1208 Switzerland

Sesac, Inc                                       Common                    1093
55 Music Square East
Nashville, TN 37203

Sharon Dorn Gill                                 Common                    16667
PO Box 758
High Rolls, NM 88325

Solar Grid Capital                               Common                    16667
1420 East 22nd St.
Brooklyn, NY 11210

Stan L. Williamson                               Common                    834
PO Box 11175
MIdland, TX 79701

Stanley Charles Weiner                           Common                    83334
1506 West Storey
Midland, TX 79701
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                                                  Continuation Sheet No. 28
Registered Name of Holder of Security                   Class of Security         Number Registered   Kind of Interest
Last Known Address or Place of Business                                                               Registered

Stanley T. Weiner                                       Common                    6428250
1506 West Storey
Midland, TX 79701

STAROBIN PARTNERS                                       Common                    1100
1 Penn Plaza, Suite 2411
New York, NY 10119

Stephen Schachman                                       Common                    47917
30 S. 17th St.
Philadelphia, PA 19103

Steve Obeda Roth IRA                                    Common                    8767
2576 Hartun Dr.
Brighton, MI 48114

Steve Vago                                              Common                    4167
208 E. Broadway Apt. 406
New York, NY 10002

Steven P. Grahek                                        Common                    350000
6900 Grasswood Ave.
Malibu, CA 90265

Steven P. Grahek & Deborah L. Kramer                    Common                    100000
JTRO
6900 Grasswood Ave.
Malibu, CA 90265

Steven Swartz                                           Common                    200000
10313 Mississippi Ave.
Los Angeles, CA 90025

Susan G. Spies, TTE Spies Revocable                     Common                    5000
Family Trust
223 Amalfi Dr.
Malibu, CA 90402

TCA Global Credit Master Fund                           Common                    16667
1404 Rodman St.
Hollywood, FL 33020

The Marie Baier Foundation                              Common                    156924
6 E. 87th St.
New York, NY 10128

The Milton &Florencia Bienenfeld Trust                  Common                    41667
PO Box 40
Pacific Palisades, CA 90272
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                                            Continuation Sheet No. 29
Registered Name of Holder of Security             Class of Security         Number Registered   Kind of Interest
Last Known Address or Place of Business                                                         Registered


Thomas G. Amato                                   Common                    8334
1 Greenbriar Court
Skillman, NJ 18558

Thomas Hook                                       Common                    100516
865 Georgia Ave.
Burleson, TX 76028

Thomas R. Craddick, Jr.                           Common                    4167
1511 Woodlawn Blvd.
Austin, TX 78703

Tiburon Research Holdings, LLC                    Common                    133334
19800 MacArthur Blvd. #300
Irvine, CA 92612

Time Warner Cable                                 Common                    653
100 Wall Street
New York, NY 10007

Todd Schwartz                                     Common                    1667
360 East 55th St
#14A
New York, NY 10022

Valerie Arrindell                                 Common                    16667
4805 Briarwood Ave., Apt. H202
Midland, TX 79707

Varkha Agrawal                                    Common                    150000
9900 Broadway St., Apt 1341
Pearland, TX 77584

Vic Ramon                                         Common                    8334
4024 Brynmawr
Dallas, TX 75225

Victor J. Raymon TTE Pain Management              Common                    37454
888 Prospect St.
Suite 210
La Jolla, CA 92037

Victor Ramos                                      Common                    1500
8420 S. Bull Run
Odessa, TX 79766
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Registered Name of Holder of Security            Class of Security         Number Registered   Kind of Interest
Last Known Address or Place of Business                                                        Registered

Wayne Hackett                                    Common                    70001
6881 Waipouli Rd.
Kapaa, HI 96746

Wayne Hackett and emmett Hutchins JTROS          Common                    20834
6881 Waipouli Rd.
Kapaa, HI 96746

Wayne T. Franke                                  Common                    1667
PO Box 150880
Austin, TX 78715-0880

Westpark Capital Inc                             Common                    234
900 Avenue of The Stars
Suite 310
Los Angeles, CA 90067

William Carter                                   Common                    104167
619 W. Texas Ave.
Ste. 126
Midland, TX 79701

William Cupp                                     Common                    1667
9439 Leesburg Pike
Vienna, VA 22182

William Devereux Brunner                         Common                    1667
2201 Country Club Dr.
Midland, TX 79701

William J. Martin                                Common                    1667
8802 Silverarrow Court
Austin, TX 78759

William R. Hyde                                  Common                    45834
9011 N. Bayshore Dr.
Miami, FL 33138

XO Communication                                 Common                    1644
14239 Collections Center Dr.
Chicago,. IL 60693

Yochanan Stepen                                  Common                    2084
Rechov Hataysim 44/4
Jersualem 92509 Israel

Zabullah Saboory                                 Common                    3334
6214 Ellenview Ave.
West Hills, CA 91307
          Case 16-33121-bjh7 Doc 9 Filed 08/09/16                        Entered 08/09/16 10:42:07                 Page 32 of 32
                                           UNITED STATES BANKRUPTCY COURT
                                              NORTHERN DISTRICT OF TEXAS
                                                    DALLAS DIVISION
    IN RE:                                                                         CHAPTER       11
    STW Resources Holding Corp.



    DEBTOR(S)                                                                      CASE NO       16-33121-bjh-11



                                            LIST OF EQUITY SECURITY HOLDERS
                                                            Continuation Sheet No. 31
 Registered Name of Holder of Security                             Class of Security          Number Registered          Kind of Interest
 Last Known Address or Place of Business                                                                                 Registered


 Zack Easton                                                       Common                     129921
 10679 E. Fanfol Ln.
 Scottsdale, AZ 85258

                                         DECLARATION UNDER PENALTY OF PERJURY
                                       ON BEHALF OF A CORPORATION OR PARTNERSHIP

    I, the                Chief Executive Officer                    of the                        Corporation
named as the debtor in this case, declare under penalty of perjury that I have read the foregoing list and that it is true and correct to the
best of my information and belief.




       8/9/2016
Date:__________________________________                            /s/ Alan Murphy
                                                        Signature:________________________________________________________
                                                                   Alan Murphy
                                                                   Chief Executive Officer
